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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                     *       CRIMINAL NO. 21-126

                              v.                     *      SECTION: “S”

EMPIRE BULKERS LTD.                          *
JOANNA MARITIME LIMITED
WARLITO TAN                                  *

                                             *

WARLITO TAN’S MEMORANDUM OF LAW IN SUPPORT OF MOTION FOR
  DISCOVERY RELATED TO HIS TO DISMISS INDICTMENT DUE TO
        CONSTITUTIONAL AND STATUTORY VIOLATIONS



       NOW COMES defendant Warlito Tan and submits this memorandum of law in

support of his motion to compel the government to produce in discovery the following

documents previously filed with this honorable Court:

       All documents, correspondence, reports, and/or memoranda filed by the
       government with U.S. Magistrate Judge van Meerveld (and/or any other judicial
       officer relating to these proceedings), including any filings under seal, including
       but not limited to submissions made in the action In re M/V JOANNA, 21-mc-592-
       BWA-JM;
       Although Chief Tan requested the documents in writing last October, they have

not been provided in discovery. Chief Tan suspects the government objects to their

production because the filings were allowed to be made and were made under seal in

support of the government’s ongoing efforts to extend the Court-authorized detention of

Chief Tan and fellow crewmembers as supposed material witnesses in the then-pending

grand jury investigation and, potentially, in this now-pending criminal case.

       Chief Tan has moved to dismiss the criminal case on the grounds that the

government held him as a supposed material witness pretextually and for the purpose of
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circumventing his speedy trial rights. He contends that his speedy trial (and other

constitutional) rights were violated and that dismissal is the appropriate remedy. As

explained in his motion to dismiss, Chief Tan respectfully submits that the government

misrepresented whether he was in fact viewed as a material witness and also

misrepresented the need to hold him (and others) as such witnesses. As detailed in the

motion, it appears the government has produced the transcripts of all witnesses who

testified before the grand jury related to this matter. The fact that testimony taken from

his fellow crewmembers over six months’ detention provides no evidence not provided to

the government during inspections of the M/V JOANNA tends to confirm what Chief-

Tan asserted (in court filings) from shortly after his arrest – the government always

intended to charge him and was holding him as a supposed material witness to

circumvent his speedy trial rights so that it could take time to try to bolster its case.

        It is not clear why the government sought to file under seal its various reports

concerning the status of its supposed material witnesses, but Chief Tan suspects it was

because the reports were represented to contain information relevant to grand jury

proceedings. It is worth noting, however, that the Fifth Circuit has held as follows:

        disclosure of information obtained from a source independent of the grand jury
        proceedings, such as a prior government investigation, does not violate Rule 6(e).
        In re Special April 1977 Grand Jury, 586 F.2d at 892; United States v. Archer,
        355 F. Supp. at 989. A discussion of actions taken by government attorneys or
        officials E. g., a recommendation by the Justice Department attorneys to
        department officials that an indictment be sought against an individual does not
        reveal any information about matters occurring before the grand jury. Nor does a
        statement of opinion as to an individual's potential criminal liability violate the
        dictates of Rule 6(e). This is so even though the opinion might be based on
        knowledge of the grand jury proceedings, provided, of course, the statement does
        not reveal the grand jury information on which it is based.

In re Grand Jury Investigation, 610 F.2d 202, 217 (5th Cir. 1980).




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       Even if the filings contain information about what transpired before the grand

jury, disclosure is now appropriate. The government has produced in discovery all

witness grand jury transcripts. So no new information will be disclosed, unless

disclosure reveals that the government misrepresented grand jury proceedings to the

Court. The government, of course, has no right to hide any such misrepresentations.

       Disclosure is expressly authorized under Federal Rule of Criminal Procedure

6(e)(3)(E), which allows for disclosure if a defendant “shows that a ground may exist to

dismiss the indictment because of a matter that occurred before the grand jury.” Chief

Tan’s motion to dismiss alleges in detail, supported by substantial evidence, including

grand jury transcripts, that he was held as in fact a target, but nominally as a material

witness, for the purpose of circumventing his speedy trial rights.

       Moreover, the government’s regular submissions to the Court to extend his pre-

indictment detention are akin to arrest or search warrant applications. Such applications

are regularly filed under seal. But once an indictment is returned, they are of course

disclosed in discovery to allow motion practice.

       Defendant Tan notes finally that he and the public have a right to know the basis

on which his detention was extended. As detailed in his motion to dismiss, it appears

Chief Tan’s pre-indictment detention is a singular, if not unique, example of the

government using a pretextual material witness warrant to hold a target and circumvent

his speedy trial rights. Whether the government used misleading or false ex parte

communications to accomplish that result is a matter of public interest. Whatever interest

the government had in keeping its investigation secret while the investigation was




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ongoing has expired. Disclosure is therefore appropriate. See, e.g., United States v.

Walker, 2013 U.S. Dist. LEXIS 178808 (S. D. Ms. 2013).

       Respectfully submitted this 28th day of December 2021.

                                             /s/ William Most _______ ______
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                                             /s/ Edward S. MacColl
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                                             Pro Hac Vice
                                             Counsel for Warlito Tan



                             CERTIFICATE OF SERVICE


      I do hereby certify that on the above date I attempted to make service of the above
document by electronically filing the same using the Court’s EM/ECF system.


                                             /s/ Edward S. MacColl____________
                                             Edward S. MacColl, MBRN #2658
                                             Pro Hac Vice
                                             Counsel for Warlito Tan




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